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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )          8:10-cr-00264-LSC-FG3
       vs.                                        )
                                                  )                  ORDER
RAYMOND L. THOMAS,                                )
                                                  )
                       Defendant.                 )


       This matter is before the court on the defendant's Motion to Continue Trial (Filing

40). The court finds that the defendant has not shown good cause for the continuance

requested.

       IT IS ORDERED that the defendant's motion (Filing 40) is denied. Trial remains set

for October 5, 2010.

      A party may object to a magistrate judge's order by filing an "Objection to Magistrate
Judge's Order" within 14 days after being served with the order. The objecting party must
comply with all requirements of NECrimR 59.2.

       DATED September 15, 2010.

                                               BY THE COURT:

                                               s/ F.A. Gossett, III
                                               United States Magistrate Judge
